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                         UNITED STATES DISTRICT COURT
                          DISTRICT OF NEW HAMPSHIRE

*****************************************
John Doe,                                *
              Plaintiff,                 *
                                         *
        v.                               *                    Civil No. 1:18-cv-01039-JD
                                         *
Jeffrey A. Meyers, Commissioner, et al.  *
              Defendants.                *
                                         *
*****************************************

                 Joint Assented-to Motion to Extend Time to Respond

       1.      The plaintiff, the intervenors, and defendant Jeffrey A. Meyers,

Commissioner of the New Hampshire Department of Health and Human Services

(collective “the movants”), by and through undersigned counsel, hereby jointly move,

with the assent of co-defendant the New Hampshire Circuit Court, to extend: (1)

Commissioner Meyers’s time to respond to the plaintiff’s complaint and motion for class

certification and the intervenors’ complaint-in-intervention; and (2) the plaintiff’s and

intervenors’ time to respond to the New Hampshire Circuit Court’s motions to dismiss.

In support of these requests, the movants state as follows:

       2.      The plaintiff filed his complaint on November 10, 2018. See ECF Doc.

No. 1. Alongside that complaint, the plaintiff also filed a motion for class certification.

See ECF Doc. No. 3. The court extended the time to respond to both the complaint and

the motion for class certification multiple times, in part so the parties could discuss the

possibility of an extra-judicial resolution to the issues presented in this case. See ECF

Doc. Nos. 15, 45, 48.

       3.      On January 7, 2019, the New Hampshire Hospital Association and



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numerous individual hospitals moved to intervene as plaintiffs. ECF Doc. No. 21. On

April 16, 2019, the court extended the deadline for the defendants to respond to that

complaint-in-intervention, as well as to the plaintiff’s complaint and motion for class

certification, until 10 days after it ruled on the motion to intervene. See April 16, 2019

Endorsed Order. The court granted the motion to intervene on May 14, 2019. ECF Doc.

No. 62. Accordingly, the defendants’ deadline to respond to the plaintiff’s complaint and

motion for class certification and the intervenors’ complaint-in-intervention is May 24,

2019. The New Hampshire Circuit Court moved to dismiss both the complaint and the

complaint-in-intervention on May 22, 2019.

        4.       On May 21, 2019, Governor Sununu signed Senate Bill 11.

Commissioner Meyers requires additional time to determine how that bill affects his

response to the complaint, the complaint-in-intervention, and the motion for class

certification.

        5.       The movants accordingly request that the court extend Commissioner

Meyers’s deadline to file his responses to those pleadings until June 4, 2019.

        6.       The movants further request that the court extend the deadlines for the

plaintiff and the intervenors to respond to the New Hampshire Circuit Court’s motions to

dismiss until June 18, 2019, so that those deadlines correspond with the deadline to

respond to Commissioner Meyers’s responsive pleadings.

        7.       The plaintiff, the intervenors, and Commissioner Meyers assent to and

therefore join in the relief requested in this motion. The New Hampshire Circuit Court

assents to the requested relief. No separate memorandum of law is required in support of

this motion as all relevant legal authority relied upon is cited herein. LR 7.1(a)(2).



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WHEREFORE, the parties respectfully request that this Honorable Court:

A. Grant this motion to extend time to respond;

B. Extend Defendant Meyers’s time to respond to the complaint, the complaint-

   in-intervention, and the motion for class certification until June 4, 2019;

C. Extend the plaintiff’s and intervenors’ time to respond to the New Hampshire

   Circuit Court’s motions to dismiss until June 18, 2019; and

D. Grant such further relief as this court deems just and proper.




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                                    Respectfully submitted,

                                    Jeffery A. Meyers, Commissioner, New
                                    Hampshire Department of Health and
                                    Human Services

                                    By his attorney,

                                    Gordon J. MacDonald
                                    Attorney General


May 24, 2019                        /s/ Samuel R. V. Garland
                                    Samuel R. V. Garland, Bar No. 266273
                                    Attorney
                                    Lindsey B. Courtney, Bar No. 20671
                                    Attorney
                                    Anthony J. Galdieri, Bar No. 18584
                                    Senior Assistant Attorney General
                                    N.H. Department of Justice, Civil Bureau
                                    33 Capitol St.
                                    Concord, NH 03301
                                    (603) 271-3650
                                    samuel.garland@doj.nh.gov
                                    lindsey.courtney@doj.nh.gov
                                    anthony.galdieri@doj.nh.gov

                                           and

                                    John Doe, on behalf of himself and all others
                                    similarly situated,

                                    By his attorney,

May 24, 2019                        /s/ Gilles R. Bissonnette
                                    Gills R. Bissonnette, Bar No. 265393
                                    Henry R. Klementowicz, Bar No. 21177
                                    American Civil Liberties Union of New
                                    Hampshire
                                    18 Low Avenue
                                    Concord, NH 03301
                                    (603) 224-5591
                                    gilles@aclu-nh.org
                                    henry@aclu-nh.org




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                                                      and

                                              New Hampshire Hospital Association, Alice
                                              Peck Day Memorial Hospital, Androscoggin
                                              Valley Hospital, Catholic Medical Center,
                                              Cheshire Medical Center, Concord Hospital,
                                              Cottage Hospital, Elliot Hospital, Frisbie
                                              Memorial Hospital, HCA Health Services of
                                              New Hampshire (Parkland Medical Center
                                              and Portsmouth Regional Hospital), Huggins
                                              Hospital, Littleton Hospital Association
                                              (Littleton Regional Healthcare),
                                              LRGHealthcare (Franklin Regional Hospital
                                              and Lakes Region General Hospital), Mary
                                              Hitchcock Memorial Hospital, Monadnock
                                              Community Hospital, New London Hospital,
                                              Southern New Hampshire Medical Center,
                                              Speare Memorial Hospital, Upper Connecticut
                                              Valley Hospital, Valley Regional Hospital,
                                              and Weeks Medical Center

                                              By their attorney,


May 24, 2019                                  /s/ Michel D. Ramsdell
                                              Michael D. Ramsdell, Bar No. 2096
                                              RAMSDELL LAW FIRM, P.L.L.C.
                                              46 South Main Street
                                              Concord NH, 03301
                                              (603) 756-7536
                                              mramsdell@ramsdelllawfirm.com



                                  Certification of Service

         I hereby certify that a copy of the foregoing was electronically served this day to
all parties through the court’s ECF system on all counsel of record

                                              /s/ Samuel R. V. Garland___________
                                              Samuel R. V. Garland




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